             Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 1 of 24

                                     Waymo v. Uber
                               Case No. 3:17-cv-00939-WHA



                   TRIAL EXHIBIT 8855

Uber Objections:

             Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, out of court
              statements made by Anthony Levandowski, who participated in the Stroz diligence process in his
              individual capacity. See Br. § II.

             Fed. R. Evid. 805 – This document contains inadmissible hearsay within hearsay; namely,
              Anthony Levandowski’s recitation of out of court statements made by other declarants. See Br.
              § II.

             Fed. R. Evid. 403M – The original document contains multiple different colors of writing. The
              different colors are attributable to different authors and/or were composed separately at different
              points in time, which raises a risk of jury confusion. See Br. § II.



      Note: This document contains handwriting and original highlights, and therefore is not susceptible to
      highlighting.
  Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 2 of 24
                                  EXHlBlT
                                   EXHIBIT

                                                             lI 9/55-L
                                                                9/55-S::
  Interview
 Inte  rview start
              startssat
                     at 11:10
                         11:10

 Mthvllly reviewed
 Mthvllly  reviewed questionnaire.-
                    questionnaire.-           ,..,+    C~
                                               ,..,-I- C~

 We review
 We  review the
             the devices.
                 devices. Approx.
                          Approx. 37.
                                  37.

 iPho  ne 6s.
  iPhone  6s. primary
               primary phone.
                         phone. Personal
                                  Personal and and work.
                                                      work. Any     communication
                                                              Any communicat       ion including     Google. Got
                                                                                        including Google.          the phone
                                                                                                              Got the  phone
  Dec 2015.
 Dec  2015. Shouldn't
               Shouldn't have
                          have google
                                 go ogle ema
                                           email.il. Used
                                                      Used google    apps. Didn't
                                                           google apps.                     with email
                                                                                     sync with
                                                                            Didn't sync                 ... used
                                                                                                   email...       app. Google
                                                                                                            used app.   Google
  confirmed
 confirmed    email
              email  was
                     was   disabled
                          disabled   at
                                     at   departure.
                                         departure.      Ottomotto
                                                         Ottomotto      email
                                                                        email is
                                                                               is on
                                                                                  on the
                                                                                      the  device.
                                                                                           device.   Gmail
                                                                                                     Gmail  app.
                                                                                                             app. Doesn't
                                                                                                                   Doesn't use
                                                                                                                            use
  default  mail
 default mail   app.
                app.   What
                      What    accounts
                              accounts     do
                                          do  you
                                              you    access
                                                     access   on
                                                             on   the
                                                                 the   iphone
                                                                      iphone   6?
                                                                                6? Text
                                                                                    Text   messages,
                                                                                           messages,   snapchat,
                                                                                                       snapchat,   imessage.
                                                                                                                    imessage.
 Synce notes
 Synce   notes with
                with gmail.
                      gmail. Sync
                               Sync contacts
                                     contacts withwith carddav.
                                                        carddav. These     should all
                                                                     These should     all exist  in gmail.
                                                                                          exist in          Had evernote
                                                                                                    gmail. Had   evernote
  before  but  not on  the  phone
 before but not on the phone. Is   .  Is phone
                                         phone     syncing
                                                  syncing    icloud?
                                                            icloud?     News,
                                                                        News,  safari,
                                                                                safari, only.
                                                                                        only.   Backup
                                                                                                Backup   may
                                                                                                          may be
                                                                                                               be enabled,,
                                                                                                                  enabled

 What was
 What was the
          the phone
              phone prior?
                    prior? !phone
                           Iphone 66 was
                                     was wiped
                                         wiped and given away.
                                               and given away.

 Neltus
 Ne~ us    as crushed
           as crushed..

 Does not
 Does not have
          have any
               any other
                   other phones.
                         phones.

 Password protected itunes backup.

 J,pad ml l'li? Didn't bring it with him. Tablets are easy to get. Used to fly his helicopter... remote. Got in
  2014 . Girlfriend has access to the ipad mini. Should not include any relevant data .

  p~d3UGot in 2013, used for personal use. Looking at Netflix video, games,
 p$1d3UGot                                                           games, personal pictures. Not
 syncing email. Dropbox may be installed but not connected and synced. GF has access ... doesn't use

                                                              go ogle related . Never synced mail. Set up dev
(NexuS'l'hasn' t been used ., Project airplane controls . Not google
(NexuS'l'hasn't
 email, set up site project how to pick up things on the ground . Testing only,.no google IP. (side project
                                                                                                  FiiNow a
 funded by google, but not google related . Google exec funding it Tiramisu, now called Flye r) FilNow
 startup called Kittyhawk, Tiramisu, Flyer.

 Apple Laptop. Primary. Used for both work and personal. FileVault encrypted. Got it in 2013 . GF has
                                                                                   Otto motto .
 access. Uses it fo r everyting. For work, yes used it for Google. Uses it now for Ottomotto

 Google : email, presentation, no software, no code, no dev work, used it to work on docs. VM for
 Gbogle
 windows, to configure tools . Work gmail, gdocs. What type of work doc, videos, presentations,
 datasheets. Anyth.ing related for chauffeur? All should be in        in-a                              via·web. Did not
                                                                         a folder? Accessed email via"web.
 sync.,
 sync., All
        All documents
            documents ar ar ee synced
                               synced with
                                       with dropbox.
                                            drop box. Still       google related
                                                              has google
                                                        Still has                   fil~s
                                                                            related fil ~s on-his                has 3J
                                                                                                           Also has
                                                                                                  laptop. Also
                                                                                           on-his laptop.              d
                                                                                                                     3Jd
 party
 party doclJll1en
        dociJlllen .. Including
                      Including vendor
                                   vendor updates
                                           updates (google
                                                     (google vendors).
                                                                vendors). Presentations       given while
                                                                             Presentations given              google.
                                                                                                           at google.
                                                                                                     while at
 What
 What sorts
        sorts of
               of Manuals?
                  Manuals? Parts
                               Parts they
                                     they would
                                          would buy
                                                 buy and
                                                       and data    sheets. Public
                                                             data sheets.            documents and
                                                                             Public documents           internal
                                                                                                   and internal
 documents.
 documents. SeemsSeems priviledged.
                        priviledged. Should
                                         Should all
                                                all be
                                                    be contained
                                                        contained in    chauffeur. (we
                                                                     in chauffeur.     (we manually          through
                                                                                                      went through
                                                                                            manually went
 some
 some files
        files so
              so some
                 some last
                       last updated
                             updated time
                                       time stamps
                                            stamps may
                                                     may have
                                                            have been
                                                                  been triggered).      Most stuff
                                                                         triggered). Most           should be
                                                                                              stuff should      in
                                                                                                            be in
 chauffeu
 chauffeur.r.

 Worked
 Worked on
         on streetview
            streetview and
                       and maps
                            maps previously.   Laptop has
                                  previously. Laptop      proprietary data
                                                      has proprietary        There are
                                                                      data.. There     some documents
                                                                                   are some           of
                                                                                            documents of
 other
 other employees
       employees personal
                  personal data
                           data confidential
                                confidential (management
                                              (management related   docs) under
                                                            related docs)        chauffer.
                                                                           under chauffer.

                                                                                                                return..
                                                                                                            to return
                                                                                                    needed to
A'fly
A'fJ.y other
       other google
              google or
                     or chau
                         chauffer
                              ffer docs?
                                   docs? NoNo...
                                              ... He
                                                   He told
                                                       told (someone)
                                                             (someone) he    had some
                                                                          he had                 he needed
                                                                                           data he
                                                                                   some data                                      vv
Tal~d
Tal~d to  to Uber
             Uber·and
                  ·and one-person
                        one-person said
                                     said keep
                                          keep it,it, someone
                                                      someone else    said to
                                                                 else said          rid-of
                                                                               get rid
                                                                            to get          the data
                                                                                        -ofthe         He asked
                                                                                                data.. He                 was
                                                                                                          asked ifif itit was
OK
OKto  to delete,
         delete, Uber  said yes.
                 Uber said   yes.



                                                                            United States District Court
                                                                           Northern District of California
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                                                                                                              STROZ__ 0021120
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                                                                       Date Entered._ _ _ _ _ __

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                                                                             Deputy Clerk


                                                TX-8855, Page 11of
                                                TX-8855, Page      23
                                                                of23
 Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 3 of 24


                                                                                                                                /
     Did you
     Did you save
             save any
                  any google
                      google work
                             work email?
                                  email? Not          know o0
                                              that II know
                                         Not that

     Ottomotto:
     Otto         uses itit for
          motto: uses        for work,
                                 work, datasheets,
                                        datasheets, spreadsheets,      text files,
                                                       spreadsheets, text            no local
                                                                             files, no         emails. Uses
                                                                                         local emails.           webbrowser for
                                                                                                           Uses webbrowser   for
     gmail check   downloads
     gmail check downloads folder.folder. Files
                                          Files  it
                                                it  online
                                                    online  in
                                                           in  dropbox,
                                                                dropbox, move
                                                                         move    a
                                                                                 a lot
                                                                                    lot of
                                                                                        of stuff
                                                                                            stuff to
                                                                                                   to google
                                                                                                       go ogle docs.
                                                                                                               docs. Anything
                                                                                                                      Anything in
                                                                                                                                in
     Ottomotto   that was     copied  from Google?
     Otto motto that was copied from Google?            NO.
                                                        NO.    he
                                                              he  was
                                                                  was super
                                                                      super  careful
                                                                              careful  about
                                                                                        about   not
                                                                                                not   copying
                                                                                                      copying   anything
                                                                                                                anything over.
                                                                                                                         over.

     Filevault enabled.
     Filevault enabled. Have
                        Have you
                             you wiped
                                 wiped your
                                       your laptop
                                             laptop recent? No. but
                                                    recent? No.     he may
                                                                but he     have wiped
                                                                       may have             in 2014.
                                                                                wiped itit in  2014.
     Reinstalled OS.
     Reinstalled OS.

      ~oOO
     ll('o oo .. Uses
                 Uses itit to
                           to keep
                              keep big
                                   big files.
                                        files. Shredded
                                               Shredded all
                                                        all the drives. New
                                                            the drives.     drives not
                                                                        New drives     even formatted.
                                                                                   not even formatted.

     On to
     On to the
           the next...
               next...

     Desktop. Used
     Desktop. Used as
                    as aa gaming
                          gaming machine
                                 machine running windows 10.
                                         running windows     There is
                                                         10. There     nothing on
                                                                    is nothing    there. Pictures,
                                                                               on there.           no work
                                                                                         Pictures, no work
     email. Doesn't seem to be in scope.

       0o Dell servers in storage. Lathrup, Ca. hasn't touched the, was never google property. Contains what
     is now google data. Vutool, 510 systems, and Anthony's Robots.

     VuTool turned into Streetview.

     510 moble mapping

     Anthony's robots, wiring for robot cars.

     Contained log of gps, indoor mapping tool, trials of different versions of camera and GPS mapping.

     Made a list of what they wanted, these machines were part of what they didn't want .

     Google took all the info and let theft these machines behind . Lets put them in storage. Google didn't
     instruct them to keep or destroy any of the assets so they kept them in storage. They delivered what
     they wanted and left behin~ the others.

     20 Homebuilt machines were part of the same agreement. Doesn't know whats on them. Never used
     for google related work. Part of the assets Google didn't want. Not attached to these. Doesn't know
     how many or whats on them. May not even know where they are. Haven't accessed anything since
     2010 or 2011. Employee workstations. Bought 510 later. Bought vutool in 2007??

     10 email. ac unts. (gmail may have dual authentication). Anthony is going to disable 2 factor so we can
     pull down his accounts.

     Cant disable it on his phone so he gives us authorization to use "authenticator" on his phone to access
     his
     his gmail
         gmail account.
               account.

    Lists
    Lists many
           r:nany devices
                  devices to
                          to access
                             access emails
                                     em ails in
                                              in the
                                                 the past.
                                                     past. He
                                                           He doesn't have possession
                                                              doesn't have            of the
                                                                           possession of      items anymore.
                                                                                         the items                 its
                                                                                                    anymore. IfIf its
    not  listed, he doesn't
    not listed, he doesn't   own
                             own  it
                                  it anymore.
                                     anymore.

    10
    10 emai
       emaill accounts.
              accounts.

    Bulk of
    Bulk of accounts
            accounts are
                      are personal.
                          personal. Did
                                     Did you
                                         you ever
                                             ever send
                                                  send yourself         from google?
                                                                emails from
                                                       yourself emails                 Some but
                                                                             google? Some               many. He
                                                                                                    not many.
                                                                                               but not           He
    was
    was cafeful
         cafeful about
                 about that.
                        that. There
                              There are
                                    are emails
                                        emails from
                                               from work
                                                    work to            but most
                                                             personal, but
                                                          to personal,          are likely
                                                                           most are              or personal
                                                                                             tax or
                                                                                     likely tax               in
                                                                                                    personal in




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                                          TX-8855, Page 22 of
                                          TX-8855, Page       23
                                                           of 23
          Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 4 of 24




nature. A
nature. A few
          few files
              files he
                    he needed
                       needed to
                              to print,
                                 print, but
                                        but not
                                            not substancial. We should
                                                substancial. We        search from
                                                                should search from
          @google.com..
         @google.com

@mac account'is
@mac accQunt'is not
                not use
                    use much,
                        much,

@US, election
@US, election stuff
              stuff

UCFSRoboqprbmotional stuff)
UCFSRoboqpromotional stuff) discount
                            discount for
                                     for printed
                                         printed cuircut
                                                 cuircut boards
                                                         boards

Others were created for dating sites,

Otto is otto related .

  l.e..c:naJ ema il acco unts Qutside of google and otto gps on bulldozers.
h l.e..c:na.l

Google encourages outside projects.

Work accounts

Set   yp 2016 oto.o March 1 2016.                                             (hothing interesting)
                                    Should not contain anything prior to 2016 (nothing

Uses them now (otto) for work

Hard end date January 24ish . (January 15-Feb1).
                                                1th
Domain may have been established prior to Jan 24 h,, but email was setup after. When was the Admin
created on the Otto accounts?



April 9, 2007 (started at Google) . Through the Vutool acq . Sebastian Thrun, Andrew Lookingbill, Joakim / / "
April9,
Arfvidsson, Handrik Dahlkamp, (founders of Vutool) joined Google to start streetview.               /~

Signed invention, employment, etc agreement.         I-r-€ceived
                                                     l-r-€ceived separate contracts.   --

What do the contracts obligate you to? ot     to approach employees, and to keep thei r secrets a secret.
                                           otto
He shouldn't tell others about their secrets.

Any special policies? Several levels of non solicit, there are people who cant solicit for a year or)
encourage to leave .

                                                                                  privacy, etc~ No training
Any other obligations? Not solicit or disclose? Training courses, political, user privacy,
on non solicit or confidentiality. There was training on queries and user data, but nothing on IP related .

Took great care in user data.
                                                      r----------------·
What info did you have access to about other employees. Managed 25 people, he had access to salary
bonus, etc. home address, work eva                                                           etc. only
                                   Is, performance rating scores, coach them for promotions, etc.
                                evals,
the 25 he managed . He didn't have HR access. Only has some data on Laptop.

Anthony is writing down the list of 25+ employees. Exhibit 5.

He
He went
   went through
        through his
                his records
                    records to
                            to see
                               see what
                                   what employees
                                        employees he
                                                  he used
                                                     used to work with
                                                          to work      or knew
                                                                  with or          create the
                                                                               (to create
                                                                          knew (to            long
                                                                                          the long
exhausted
exhausted list.
          list.




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                                                 TX-8855, Page 33 of
                                                 TX-8855, Page       23
                                                                  of 23
  Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 5 of 24




         Side work:
         Side work: what
                      what isisgoogles
                               googles policy?
                                          policy? Anything   you did
                                                   Anything you      not related
                                                                 did not           to google
                                                                          related to         work, itit was
                                                                                      google work,          yours. Google
                                                                                                        wasyours.  Google
         doesn't care
         doesn't  care unless
                       unless its
                                its directly
                                    directly related
                                              related..

         Side projects
         Side projects while
                       while at
                             at Google?
                                Google?       ~7
                                              ~7
         Main work:
         Main work: started
                    started in
                             in 2007-2008
                                2007-2008 Streetview      roll out
                                          Streetview.... roll               world wide,
                                                                   vehicles world
                                                               out vehicles       wide,

         2008-2009 airplane
         2008-2009 airplane view
                            view aero
                                 aero imagery.   (GEOS)
                                       imagery. (GEOS)

         2008- started
         2008-   started mapping.
                         mapping. Setting
                                     Setting up
                                             up operations
                                                operations in      Mountview and
                                                                in Mountview                extract cities
                                                                                     India, extract
                                                                                and India,                      stop signs.
                                                                                                            of stop
                                                                                                     cities of       signs.     ~
                                                                                                                                ~
         streetnames (GT,
                       (GT, Ground
                            Ground Truth).
                                      Truth). This
                                              This isis all
                                                        all confidentia     Requested to
                                                            confidentia .. Requested             TV show
                                                                                           do aa TV
                                                                                        to do              to          pizza,
                                                                                                    show to deliver pizza, \~~
                                                                                                               deliver        \~~
         streetnames
        ~J
         started aacompanyapprove
         started                                      s
                                       -ttbyGoogle. S aa ee nthony's
                    companyapprove-ttbVGoogle.                      nthony's Robots    (external non
                                                                               Robots (external                 company) 20
                                                                                                       google company)
                                                                                                  non google                     d.{-+
                                                                                                                                     +
                                                                                                                                8-/ LLoL{ -
                                                                                                                            20 8-/
         2009. Never
         2009.   Never used
                        used funds
                              funds from
                                    from Google.
                                           Google. Prototype       this (tv
                                                      Prototype this        show). Discovery
                                                                        (tv show).              chann~.
                                                                                   Discovery chann     ~                          ~~
                                                                                                                                  ~     ~

~ ·Finished
  ' Finished US
             US Maps, started goo~
                Maps, started                  ardware done
                              gOo!\..~ffer in ~ardware done by
                                                            by                            nthony's            ftware at
                                                                                                   Robots, ftware
                                                                                          nthony's Robots,            at
   //    Google. Sold
         Google.  Sold 2011
                       2011 to
                            to Google.
                                Google. 510
                                         510 systems
                                               systems also   brought into
                                                         also brought        Google. Was
                                                                       into Google.    Was              m  510, just used
                                                                                                        In 510, just used
         their equipment
         their equipment (but
                          (but he
                                he was
                                   was an=t'
                                       an"f'nnvestor).
                                              vestor). Started  to invest
                                                       Started to          in 510
                                                                   invest in       in 2005.
                                                                              510 in         Darpa Grandchallenge
                                                                                      2005. Darpa  Grandchallenge
                competition), farming
         (robot competition),  farming navigation
                                       navigation for    Tractors, Topcon
                                                     for Tractors,                used for
                                                                             then used
                                                                   Topc6n then                            then tractor
                                                                                             motorcycles, then
                                                                                         for motorcycles,       tractor

         Google was aware of all side projects. Manager was a mentor. No secrets? No pol icy really as long as
         its not competing .

         Positions at Google: years.              /

         2007 Software Engineer to 2011.V                                    /

         2011-2012 Engineering manager        b~ as product ma~er
         2012-2016 Engineering Mana¢

             /utfq;J\~~M
             /ufci'J\ ~~M
         Get shit done rolls. 2007-2011, find out ~ eeds to be done, do it, move on.

         Wrote a bill to pass self driving car. /                                '""'

                                                                   rolls . ~
         Never wrote any software code . Technical project manager rOIlS


         (mbo"d,
         (mbo.,d, tell'p,esen,e)
                    tell,pcesence). (h"ffe,  (Selfdc;,;ng wi·
                                    Chooffec (Selfd,;,;ng w) .                   I
         Project names Streetview (City Block), Ground Truth, Chauffer, GEOS. Help on various projects




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                                            TX-8855, Page 44 of
                                            TX-8855, Page       23
                                                             of23
       Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 6 of 24




  Interview starts-approximately 10:10.
Interview starts-appro ximat ely 10:10.
 Returned"iphone to Ant l'n:J'rrr.fotik possession    of~alige
                                                  n of~a nge
Returned"iphone to Ant l'n:J'rrr,t'O'Ok possessio
 Talking about the emai kj ~it he laptop. Otto. Q.tto
                                                 . Q.ttois notsynce d. Gmai
                                                                synced.     t from.Goog1
                                                                        Gmaitfrom   ..Goog1e wassynce
                                                                                         e was        d.
                                                                                                  synced.
                                                       is not
Talking abou t the ema il=-ef.M:he laptop . Otto
 Do you have access to Google work mail ontheir
                                            theirserve
                                                  server? No,nonoway.
                                                      r? No,      way.
Do you have access to Google work mail on
 The messages were synced awhile ago.
The messages were synced awhile ago.
                                                                        e drives . Dropb ox (perso nal) has
 What is on theeloud repsoitories? Ot.o andottom   otto.c om, nonogoogl
                                             ottomotto.com,        google  drives.  Dropbox  (personal)  has
What is on the cloud repsoitories? Ot.o and
 Google work stuffwhich
                   whichhasn'
                         hasn't  been touched
                              t been touched   (likely
                                             (likely   Chauffer
                                                      Chau ffer docs) .
                                                                 docs).
Google work stuff
 Do you actively use this account? Yes
Do you actively use this account? Yes
 Apple Laptop not synced up for email, dropbox   orany
                                                    anydrive
                                                        drivesyncin g. He
                                                               syncing.     doesaccess
                                                                         Hedoes          drivesepar
                                                                                 accessdrive        ately
                                                                                               separately
                                             ox or
Apple Laptop not synced up for email , dropb
 through chrome browser, log into email. Otto motto         in regist
                                                       domain
                                                 otto doma      registeredgmail doma  in.
                                                                      ered gmail domain.
throu gh chrome browser, log into email. Ottom
   OClll < possession of 3 ipads
  OC!Il < possession of 3 ipads

Anthony forgets his password to one of the ipads
                                              ipads and
                                                     and isis attem
                                                              attempting   to reme
                                                                    pting to   remember  the patter
                                                                                   mber the         n. ItItmay
                                                                                             pattern.      may
Antho ny forgets his password to one of the
disable if too many incorr
                     incorrect attemtps  are made.
                           ect attem tps are made.
disable if too many
 Return to where we left off yesterday.
 Return to where we left off yesterday.
 Hi"redin 2007 to work on streetview until 2008.
 Hi"red ln 2007 to work on stree tview until 2008.
 2008 and 20'09 side project GEOS
 2008 and 20b9 side project GEOS
 2008 started to work on mapping in Mountview and India. Make the database behin
                                                                  database behind  maps..
                                                                                 d maps
 2008 started to work on mapping in Moun tview
 2009 joined· chauffe r. ;project,
 2009 joined· chauffe r. .project,
 Side job 2008 2009 worked on robot cars (deliver
                                                er pizza).
                                                   pizza) .
 Side job 2008 2009 worked on robot cars (deliv
 Google saw it was possible and got excited. All
                                             All of
                                                 of this
                                                     th iswas approved by
                                                          was approved    Google..
                                                                       by Google
 Google saw it was possible and got excited.
 This became Anthony's robo.ts which was sold to
                                               to Google.
                                                  Google.
 This became Anthony's robo.ts which was sold
  1U systems predated G~ araison was the original        name..
                                               original name
  1 U.systems predated Gongle_ araison was the
      ~


       -~

  old 510 systems to Google in 2011.
   old 510 systems to Google in 2011 .                                                            /I
Software Engineer supervisor  Sebastian Thrun. .2007-2011                           hisinitially
                                                                               asashis                       foraa
                                                                                                  supervisorfor
                                                                                        initiallysupervisor
                                                 2007-2011
 Softwa re Engineer supervisor Sebastian Thrun
week or so.                                               ---- -
                                                           -----
 week or so .
~
~promoted   , Sebastian still his boss t, *hris Urmson
   prom oted , Sebastian still his boss t' *hris
                                                 Urmson

~~~4          Salecky was then his s~vlsor.
        Bryan Salecky was then his s~v1sor.
~ ~~4Bryan

Who else did you work                Refe   nces the typed long list he previously provided. A lot of them came
  Who else did you work


  --
from 510.
  from 510.




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                                                TX-8855, , Page
                                                 TX-8855Page        2323
                                                              5 5ofof
  Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 7 of 24




                                        employeeshe
                                       employees  heever
                                                     evercontacted          histime
                                                                     duringhis
                                                          contacted during           atGoogle.
                                                                                timeat Google.

                                                                            Gmail contacts.
     """"I+rh"""""c""raea'te the list? Went through the phone contact list. Gmail  contacts.

Did you
Did  you rely
          relyon
               on internal
                   internal contact
                             contact list?
                                      list? No
                                            No

Put an
Put  an arrow
        arrow next
              next to
                    to those
                        those he
                               he worked
                                  worked with
                                         with on    regular basis.
                                              on aaregular   basis.

He will
He will identify
         identify those
                   those employees
                         employees he
                                   he did
                                      did group
                                          group with projects with.
                                                with projects        ,.-.. ~
                                                              with. ,.-..  ~

 (talking to
(talking   to himself,
              himself, may
                       may have
                           have found
                                 found aamistake
                                         mistake on
                                                 on the
                                                     the list).
                                                          list).             J~   ..-'
                                                                              ~..-'
 (asked for
(asked   for the
              the handwritten
                  handwritten list
                               list back
                                    back to
                                          to make
                                             make some
                                                  some adjustments)
                                                       adjustments)

   What types
 What            Of documents
          types of  documents did
                                did you   cw.te whil~
                                     you cwte      whil~ at  google-1l ~ pe~ational
                                                          at google~       pe~ational manua
                                                                                        manua how to 0            e aa street
                                                                                                                 te    street
 tt iew
     iew car,
         car, how
               how they
                    they systems
                         systems fit
                                  fit together,
                                       together, lots
                                                  lots of emails.....some
                                                       of emails,            pr£sentations., tt aining
                                                                     some....pr£sentations              information AERO
                                                                                                aining information    AERO
ft mafery,
    magery, internal
              internal presentation
                       presentation how how to
                                            to evaluate
                                               evaluate aa product,
                                                             product,     Ce-c /U
                                                                          6C-C!U          ~
Where did
Where did you
          you store
              store these?
                    these? On
                           On Qogle
                              Qogle Dr'iVi
                                    Dr'iVi                           ~P;
                                                                      tt1                   'I
                                                                                            '/
Were you
Were you issued
          issued any
                  any devices?
                      devices? Yes,
                                 Yes, (\lesktops,    'i'aptops, may~
                                       Giesktops, 33 raptops,          topsllinux desktops)
                                                                may~ tops11inux                  laptop, 22
                                                                                             mac laptop,
                                                                                  desktops) mac
chromebooks,2
chromebooks,     levono laptops, 11inux, 1 windows. Blackberry. D.
               2 Ievana                                            D' they have a BYOD  policy? No
       has the ability to install Gmail app and they control the s
Google has
Google

When you
     you resigned,
         resigned, what did you have? 2 desk, 2 laps
When                                             ...
What happened
What happened to the others? They were returned .
                                                                                               ftcuL-
                                                                                               uSt[ c~ ../,ff ~i­
                                                                                                              ~i­
                                                                                                    ~:Aft:A f! ~ '-"-.          f/k ' "
Did
Did you ever plu in flash or external into google desk ps. es, everyday, they use usb 0o move stuff
    you ever
onto
onto the
     the car.
         car.                     .    ose were retu~ned (tracked by Google).                   ~                   r..
All
All had
    had asset
        asset tags
              tags                                           I
                                                           . /             {/)
                                                                           (/)"U)
                                                                               U)        f~!;..s1:;f.;iM (~
                                                                                         f~!;..S~w(
Ever
Ever us
     us aa personal
           personal usb on Google? Yes, its            poss·~e.                       J;:f.o
                                                      He had tons but destroyed. tbem J;:f
                                                                                         .o_  w?. Took them
                                                                                            ..w?'
to shredder
to shredder  and had.them
                 had-them  shred  e         ew a'bout
                                                ·bout this
                                                      this..

    .· e.Gn
       e.on streetview
            streetview                                  disks,th<!i.,wen t into
                                                        disks,thC!i..,went                      car (2012).
                                                                                any..streetview car
                                                                           into any..streetview             Wifi
                                                                                                    (2012). Wifi
sniffing.
sniffing.

 He ever i:lesf-1"



Do
Do you
   you know
        know what
             what was
                  was on
                      on th
                          th                ee destroyed?
                                               destroyed? Trade      stuff, vendor
                                                                show stuff,
                                                          Trade show               sheets, files
                                                                            vendor sheets,        he was
                                                                                            files he     movmg
                                                                                                     was moving
around.
around.

Affy-source cade?
A'fly-source cade? No
                   No

Someone was
Someone was leaving
             leaving usb
                     usbdri
                         dri es
                              es with
                                 with spyware
                                      spyware so
                                               so he
                                                  he wanted  to make
                                                     wanted to        sure he
                                                                make sure     didn't have
                                                                           he didn't      any.
                                                                                     have any.

Why no vpn? Too much of           hassle!
                                  hassle! Easier to g~fice
                                          Easierto  g~-~-~!fice and
                                                                and work
                                                                    work..
                  <"




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                                               TX-8855,  Page66of
                                                TX-8855, Page      23
                                                                of23
     Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 8 of 24




When you
When   you accessed
            accessed Googles
                     Googles network,
                             network, (Hanley   list~
                                       (Hanley list ~      vices that
                                                           vices           have connected
                                                                       may have
                                                                  that may                       it). Anthony
                                                                                             to it).
                                                                                  connected to        Anthony
confirms they
confirms  they all
               all MAY
                   MAY have
                       have been
                            been used
                                 used to
                                       to aa stb
                                              sSbut ut nothing  connected to
                                                       nothing connected       corporate network,
                                                                            to corporate network,

  id you
 id  you ever
         ever email
              email yourself
                     yourself any
                              any pgle
                                  pgle fiJes?
                                        fiJes? On
                                               Only
                                                  ly presentations
                                                     presentations or other docs
                                                                   or other      he coul~access
                                                                            docs he couldn't access
otherwise (should
otherwise  (should all
                    all hh attachements.



               google.com to
               google.com to                     gmail.com
                                                 gmail.com

An ·n
An  . ormatiom;:regardlflg-p1'O)'ects sent? Don't
        matiom;:regard1flg-prore cts sent?  Don't think
                                                  think so.
                                                        so.

Qata §heetsl
Qata §heets? N
             N

Nothing Technical?
Nothing            No not
        Technical? No not likely
                          likely

                                   ey report . Robot car ana fytlcs
                             Stanley
There may have been a morgan Stanl

                     ·No·don'<t think so
No proprietary data? ·No-don'<t

                                          ctevir;:e~? Laptop, the phone? No usb or flash drive
Did you store google info on any personal cl_evir;:e~?

He plans to tell us where he thinks "things niay be i '
                                            may be;'

There are 3 locations, downloads on the Mac, Dropbox, Chauffer folder, emails that were synced .

How did it get on there? Through normal work activity.

This is his personal laptop. They have a way to let people to use their own stuff. No special documents
to sign regarding their policy.

Did you store any data anywhere else online? No, not that he can recall.

Very unlikely on any other devices.

Drobo (file storage). That is where his computer was backing up to. (Drobo 1 stopped working, Drobo 3
stopped working too) he no longer has those.

LetGoogL~
Let_Googl~ Twesday 1/26/20.1-6
                   1/26/20..1.-6

                                                                2008 . He did t he streetview th ing and
When did you first concider leaving and why? I considered it in 2008.
GT project. He stayed because it's a great place to launch new projects. In 2013 when he started to
work for Chris, they don't like each other. It was difficult.

How
How serious
      serious in
               in 2008
                  2008 and
                        and 2012.
                            2012. He
                                  He was
                                     was talking
                                         talking to
                                                 to people
                                                     people (joel   on the
                                                              (joel on      list). The
                                                                        the list).            came about
                                                                                         idea came
                                                                                    The idea               that
                                                                                                     about that
human
human drivers
        drivers are
                  are not
                      not good.
                          good. They
                                They wanted
                                     wanted to
                                             to be
                                                be the
                                                    the first
                                                        first to do it.
                                                              to do          felt they
                                                                         He felt
                                                                     it. He             went   in the wrong
                                                                                   they went in the wrong
direction
direction with
           with Chris.
                 Chris.

After
After 2012
       2012 he
             he stayed
                stayed because
                       because itit was
                                    was still
                                        still the
                                              the right
                                                  right place
                                                        place to
                                                              to see things through
                                                                 see things           There was
                                                                            through.. There        chance
                                                                                            was aa chance
things  could turn around.
 things could turn around.

2015
 2015 rolls
       rolls around
             around and
                     and they
                          they are
                                are approach
                                    approaching
                                             ing aa deadline
                                                    deadline of
                                                             of launching    the vehicles
                                                                 launching the              and its
                                                                                 vehicles and        even more
                                                                                                 its even       clear
                                                                                                          more clear
they  are  doing the wrong
 they are doing the wrong    things.
                              things. The
                                      The design
                                          design  was
                                                  was  not
                                                       not relevant
                                                           relevant   the
                                                                     the   technology
                                                                          technology    is
                                                                                       is  what
                                                                                           what   was
                                                                                                  was  wrong
                                                                                                       wrong ..




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                                                TX-8855, Page 77 of
                                                TX-8855, Page       23
                                                                 of 23
 Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 9 of 24




     Firefly, SDC,
     Firefly, SDC, Chauffer,
                   Chauffer, "the
                              "the robots"
                                    robots"..

      What did
     What    did Google
                 Google think?
                           think? Everyone
                                      Everyone believed
                                                 believed in
                                                           in it,
                                                               it, Larry  Page upset
                                                                   Larry Page         with the
                                                                               upset with         direction, Anthony
                                                                                             the direction,                trying to
                                                                                                             Anthony isis trying   to
      lead the
     lead   the direction
                direction and
                            and itit kept
                                     kept shifting
                                           shifting back
                                                    back to
                                                          to the
                                                              the original                was time
                                                                             course. ItIt was
                                                                    original course.                to move   on. The   mentality
                                                                                               time to move on. The mentality
      higher up
     higher       was stifling
              up was   stifling the
                                 the release.
                                       release. (too
                                                 (too focused
                                                       focused on on safety).
                                                                      safety).

     Did you
     Did you and
             and Larry
                 Larry discuss
                       discuss aa start
                                  start up?
                                        up? No
                                            No

     Trucks not
     Trucks not competitive
                competitive with
                            with Google
                                 Google at
                                        at the
                                           the time.
                                               time.

      He sent
     He  sent Larry
               Larry and
                     and email
                         email shor
                               shor   ,efore he
                                     ,efore          ready to
                                                 was ready
                                             he was            leave. He
                                                           to leave.            respond but
                                                                         didn't respond
                                                                      He didn't             sen~ not
                                                                                        but sen§ not
     that he
     that  he resigned
              resigned and
                        and th   C~Scorted him
                            th C~Scorted        him out.
                                                    out.

     There is
     There  is aa clear
                  clear course
                        course of
                               of action
                                  action to
                                         to resign
                                            resign and
                                                   and he
                                                       he must have deviated
                                                          must have          from that.
                                                                    deviated from that.
        th
     251h sent email to Larry (its in his Gmail) 2am

     Larry forwarded to Chris




     They ask why he can leave, I hear you are recruiting people, (Chris was doing the talking).

     Did you talk about recruiting people, he said there are people who have the same vision he does. They
     never asked who .

                                                                                        toaa room and HR
     After the meeting, chris walked him to his desk, gathered his things, escorted him to
     joined .

     Chris and Anthony chatted about what went wrong .... Some weird conversation happened about how he
     could leave. Anthony asked if it was true that Chris left the group, Sergi told him chris was leaving. Chris
     returned to the group to stop Anthony from doing what he wound up doing. They at one point were
     room mates.

    Anthony talked to HR (Chelsey) who calls legal person to come in.

     15 minutes, what it means to leave Google. They talked about why he was leaving. She asked for his
     devices. All Google property was left behind .

    Did they give you any instructions? No,

    The chat with legal was about non solicitiation and confidential info. How do I go about it when people
    call
    call ifif interested
              interested in
                          in joining
                             joining his
                                     his new
                                         new project.
                                              project. "Happy
                                                         "Happy to to meet        you but
                                                                            with you
                                                                       meet with             cant talk
                                                                                      but II cant           you about
                                                                                                        to you
                                                                                                   talk to             my
                                                                                                                about my
    work
    work things
              things because
                     because II have
                                 have contractual
                                       contractual agreement        intend to honor  with   Google"   . They  verbally
                                                    agreement II intend to honor with Google" . They verbally agreed   agreed
    to
    to the
       the language.
               language. They
                           They would
                                  would not  provide him
                                         not provide   him the
                                                            the language         documents     to sign.  It was  mailed
                                                                             No documents to sign. It was mailed later
                                                                 language.. No                                          later
    and
    and we  we now
                 now have   possession of
                      have possession    of what
                                            what h.
                                                 h.ee received.    (video conference
                                                      received. (video                 not  in person).
                                                                          conference not in person).

    Did
    Did she
        she ask
            ask you
                you questions
                    questions about
                              about the
                                    the documents
                                        documents you
                                                  you previously         No.
                                                                 signed? No.
                                                      previously signed?

    No
    No additionaHnstmctions:-,
       additionaHnstmctionS:--



    ~:=)
    ~:=)
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                                           TX-8855, Page 88 of
                                           TX-8855, Page       23
                                                            of 23
       Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 10 of 24




        We revisit
       We   revisit the
                     the conversation
                         conversation in in the
                                             the conference
                                                   conference room
                                                               room when          mentioned he
                                                                            Chris mentioned
                                                                      when Chris              he heard   Anthony was
                                                                                                 heard Anthony   was
        recruiting people.
       recruiting   people. They
                              They later
                                    later met
                                           met with
                                                  with people
                                                        people to
                                                                to have
                                                                   have one     ones to
                                                                            on ones
                                                                        one on           make sure
                                                                                      to make             were not
                                                                                                     they were
                                                                                               sure they           going to
                                                                                                               not going  to
        leave (hear
       leave   (hear say)
                      say).. Nobody
                             Nobody else
                                      else left
                                             left that
                                                   that day.
                                                        day.
                      ~
                      ~                                                                             -----~
                                                                                                    -----~
       Joh Craftcheck
       Joh Craftcheck ailed
                      ailed Anthony
                            Anthony asking
                                    asking what happened.. // '
                                           what happened                                             ~
                                          ~~H'l-l::fte--dtrn:rtt"lef!;MI· ' [¢turned
                                          ~~H'l-li:Re--rlwn::rtt'Ietl;MI                        computers th<J,~
                                                                                            the computers
                                                                                       all the
                                                                             ![¢turned all                th,>~
       He has
       He has some
               some other
                      other random
                                random parts
                                           parts he
                                                  he disposed
                                                     disposed of,of, ose
                                                                     ose late late
       aluminum,   robot      parts (nonproprietary),
       aluminum, robot parts (nonproprietary),            test
                                                         test   c~~eras
                                                                c~~eras  . .   They
                                                                               They     rein       house in
                                                                                              the house
                                                                                        re in the                box. He
                                                                                                           in aa box.    He fo
                                                                                                                             fo
       he was  looking    for  stuff to   make
       he was looking for stuff to make sure     sure he
                                                      he didn't
                                                         didn't   have
                                                                  have of
                                                                       of     anything.
                                                                              anything.         stroyed
                                                                                                 stroyed  them.
                                                                                                          them    .  r-
                                                                                                                      r-    ed
                                                                                                                             ed and
                                                                                                                                and
       melted .  He paid     to have    them  destroyed.    He
       melted . He paid to have them destroyed. He doesn't know  doesn't     know   their
                                                                                    their name.
                                                                                          name.   he
                                                                                                   he didn't
                                                                                                      didn't   want
                                                                                                               want   to
                                                                                                                      to  have
                                                                                                                          have    ,)
       anything left.
       anything  left. IfIf he
                            he gave
                                gave itit back,
                                          back, he
                                                he thought
                                                    thought itit would
                                                                 would spark                     back lash.
                                                                                   unnecessary back
                                                                       spark unnecessary               lash.  /J!l () t,  fJ

       Did you know the files were on your computer before yesterday? No.                                    tct"-1
                                                                                                             tLt-1V

                           ~~~~:::::,,::,~::::~:::::::::::::,~::::,,,,
       :::::':::::::::::::~~~~:::::';::tO~::::~:::::::::::::t~::::,;og                                                        ~~~
                                                                                                                            ~ 01/
                                                     0


       :::::,:::::::::::::                                                                               tjtfJ\j
                                                                                                                     0O?
                                                                                                                       (
       Any hard copies? ]'Jo
                        1'Jo                                                                             8tf)U
       Did you download copy or export? Not with the intention of leaving. Some stuff on the Apple Ia pta
                                                                                                   lapta

       R&D stuff? Yes

       Technical? Yes

       Customer? Yes

       Software or hardware? Maybe

       Employee data? Yes

       Trade secrets? Yes

       IP? No




      He
      He has
         has th
             th iS-stuff
                 iS-stuff because"its
                          because''lts customary
                                       customary to
                                                  to do
                                                     do this
                                                        this while
                                                             while at
                                                                   at Google. He didn't
                                                                      Google. He        remember itit was
                                                                                 didn't remember          there..
                                                                                                      was there
      Upon discovery    thee advice  was  not to ~Iete.
      Upon discovery th,e advice was not to ~lete.

      Did
      Did you

,,-----The
      Did
          you destroy-anything

r--T'he box    of stuff

      Did anyone
                  stuff was

          anyone tell
                                else)7 yes
              destroy_ anything else
          --------
           box of
                                       Yes the

                        was de.stroyed·last

                  tell you
                                           the disk
                                               disk and

                            de.stroyed·last week.

                       you to
                            to destroy
                               destroy tthat
                                            week.

                                         hat stuff
                                             stuff (from
                                                          --
                                                          ---
                                                    and some.
                                                        some.non
                                                              non sensitive



                                                   (from Uber?)
                                                         Uber?) no
                                                                no (they
                                                                                destroyed (the
                                                                            was destroyed
                                                                  sensitive was



                                                                               me to
                                                                          told me
                                                                   (they told
                                                                                                      stuff)..
                                                                                                   of stuff)
                                                                                               box of
                                                                                          (the box



                                                                                                   disk)
                                                                                               the disk)
                                                                                      destroy the
                                                                                   to destroy




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                                                     TX-8855, Page 99 of
                                                     TX-8855, Page       23
                                                                      of 23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 11 of 24




Did you
Did you check
        check all
              all your
                  your email
                       email and
                             and storage
                                 storage accounts? Physical stuff,
                                         accounts? Physical        not digital
                                                            stuff, not         media..
                                                                       digital media      ~
                                                                                          ~

Did
Did   y~u check
          check online
                online stuff?
                       stuff? No
                              No                                                         om
                                                                                         Om/1( vrV
                                                                                            /l(V
 Your
Your   ~id                              you first
                                       you   first hear about OttoMottoC
                                                   hear about  OttoMottoC';:)ming   wa'·
                                                                          ' ::Jming wa        ccable..
                                                                                              ccable
 discussed lior
discussed   lior joining
                  joining Chauffer.
                          Chauffer. He
                                    He ran
                                        ran aa competitive      (Ma~.
                                               competitive project,
                                                             project,           They spoke
                                                                                They          couple of
                                                                                     spoke aa couple   of
 times. Their
times.  Their first
               first meeting
                      meeting was
                              was on
                                   on campus
                                      campus (august
                                                (august or  sept 2015).
                                                         or sept 2015).                           -----~
                                                                                                  ~---~

They talked
They talked about
            about what
                  what was
                       was going
                           going on
                                 on at
                                    at Chauffer, Anthony tried
                                       Chauffer, Anthony       to get
                                                         tried to     him on
                                                                  get him    the team.
                                                                          on the team.




lior was
lior was telling
         telling him
                 him about
                     about Alphabet,
                           Alphabet, the
                                     the clothing technology. Alp~_g_be-ris
                                         clothing technology. Alp~,9.bet-is a         co for
                                                                              holding co
                                                                            a holding        Google.. They
                                                                                         for Google   They
discussed possibly having Trucks an Alphabet product. ~  ~
They talked about the opportunity for    Tr~~ket, aftermarket kits, etc. More like the Tesla
Autopilot.

He had chats with other people regarding how to make it work at Google. The opportunity with lior was
a last option (?).                                                                              --....
                                                                                                 ---..

                                         ~~tside meeting, early September.
                                   start~~tside
When did you start to talk about a start

The Goo
                       --
             -Ef-01iVeSnear by too
             -Ef-crrrVeSiiear  too.. -                                                                       /'

Second outside meeting is when things started to solidify. They discussed waiting until they leave or lets ) ,.",-
thing this   through~f:.:_
                     f:.:.irs
                      irs:t~:t~. -
                                 _---------------------------~
                                   ----------------------------___./
                                                                                                                  _,-
When did you talk to larry and Chris? (wrong path converstion) Jan 2015. They discussed releasing the
car, the agreed but then moved back to the original course .

It was clear to Anthony a week before he left that the path was not going in the direction that worked
for him.

Every 2 weeks he met with his employees for 30 minutes to see how things are going.

How many group meetings? 3, 1 bbq, ski trip, Ipm
                                             1pm gathering,
                                                 gathering, 1 pm gathering at Anthony's house.

Matt Williams, lior, others on team (Chauffer) Brian Cullha, Brian Tunellini (?)

When?

BBQ-
BBQ- whole
      whole laser
             laser team
                   team (perception)
                        (perception) 11 software
                                        software engineers December 2015
                                                 engineers December      (harmless, people
                                                                    2015 (harmless,             over,
                                                                                           came over,
                                                                                    people came
very
very casual)
     casual)

Ski
Ski trip-
    trip- January
          January 2016
                  2016

Ant hony was
Anthony  was writing
             writing on
                     on the
                        the board
                            board about
                                  about the
                                        the meetings.
                                            meetings.

He
He had
   had 11 on
          on Is
             1s and
                and group
                    group chats
                          chats

11 on
   on 11 (forming
         (forming new company date)
                  new company date)




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                                     lX-88SS,
                                      TX-8855, Page
                                               Page 10
                                                    10 of
                                                       of 23
                                                          23
       Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 12 of 24


                                                                                 }4Iit' "1
                                                                                 }4lit'                  ~ f,.J)Itl
                                                                                                           p,.J)Iti .·
.."",., Discussion
._,.,   Discussion with
                   with Anthony
                        Anthony regarding
                                regarding what
                                          what they      to do
                                                    want to
                                               they want         30 minutes
                                                            do.. 30         every 22 weeks.
                                                                    minutes every    weeks.                          p


                      12) (December
                      12)  (December 2015-Jan
                                         2015-Jan 26)
                                                  26) did
                                                       did he
                                                           he initiate  it? ItIt was
                                                              initiate it?            mutual about
                                                                                 was mutual          whats next.
                                                                                              about whats           They were
                                                                                                            next. They     were
               cussing the
              cussing  the bonus
                            bonus payout.
                                    payout. 44 year  increments. IfIf you
                                               year increments.             left the
                                                                      you left         company within
                                                                                  the company              months, you
                                                                                                 within 66 months,         got itit all.
                                                                                                                     you got        all.
           They talked
           They  talked about
                         about lasers
                                 lasers for
                                        for drones,
                                            drones, security.
                                                    security. Electrical    Engineer. #1
                                                               Electrical Engineer.      #1 tech  lead. They
                                                                                            tech lead.        talked about
                                                                                                         They talked   about
           trucks, and
           trucks, and sort
                        sort of
                              of interested,
                                 interested, he
                                              he was
                                                 was not  interested in
                                                      not interested       the kits.
                                                                       in the          He was
                                                                                 kits. He             interested if
                                                                                               more interested
                                                                                          was more                   Arta, Sam,
                                                                                                                  if Arta,  Sam,
           Liala were
           Liala were to
                       to join
                          join..

           BBQ Social

           Intro to Lior
           lntro

           Pierre, Gatean, Luke Washer, Drew Ulrich, Morriss, (side conversations at bbq)




           Laser team chat with Brian Selleski

       All hands Tues and Thurs

       After talking to Chris and Brian about Anthony's future, they address the team that Anthony is moving
       off the laser team . Brian leaves the room and the team chats about it.




       After the bbq people talked amongst themselves, Anthony didn't recruit anyone directly.



       There might be some text messages.

       One on Ones

       Wanted to get their thoughts on trucks vs kits, exploring ideas.



      -Pierre (Dec 2015) regularly"  -
                         regularly.....-

       Gaetan (Dec 2015) regularly /
       p

       Will MCCann (Jan 15, 2016) 2 times
       p


      .........
        Drew (Dec 2015) 4 times
      ...,.._
       Bernard (not at all)

      ----
       Liala Mathos (Dec 2015) regularly
           •
       -
       Blia
       Blia se
            se Gassend
               Gassend (Jan
                       (Jan 2016)
                            2016) 22 times
                                     times


       -
       Anthon
       Anthonyy Hinton(not
                Hinton( not at
                            at all)
                               all)




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                                                     lX-88SS,
                                                     TX-8855, Page
                                                              Page 11
                                                                   11 of
                                                                      of 23
                                                                         23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 13 of 24




   lonut lordache
  lonut   lordache (same
                   (same as
                         as Will)
                            Will)




 I stepped out for a break and returned within 5 minutes (see Handley's notes for diagram of what was
 written on the board)



 Those who solicited Anthony- Bryan

 High priority (those who showed interest)

  *Pierre

 Gaeton

 Laila

 Others who they spoke to "low"

 Will

 Drew

 Blaise

 lonut

 Luke

 Rahin

 Sam

 Don

 What did you talk about regarding new co and when? All communications were verbal

 *Pierre: (talked about different options, he preferred trucks, he wanted to be a founder, wanted to
 mat cr'Lior's stake, committed to funds, had meetings at his house. Strat was to ask Chauffer, if they
 didn't they would try trucks at alpha, if not they would leave. He asked to help and bring on people. He
 wrote up and brought offer letters for people to join NewCo. (hardware engineer)

  Gaeto g: (much lighter than discussions with Pierre. He requested a specific number of engineers. He
• wanted to invest. He want Anthony to hire his brother and others Not Google employees) they met 3
  times one on ones between Dec-Jan (mechanical Engineer)

~:
~:    (she
      (she approach
            approach him
                       him after
                           after talking
                                 talking to
                                          to Pierre.
                                             Pierre. They
                                                      They chatted,             vs kit,
                                                                      trucking vs
                                                            chatted, trucking           she wanted
                                                                                   kit, she           understand
                                                                                                   to understand
                                                                                            wanted to
 maternity
 maternity leave
            leave things
                  things (she
                         (she was
                               was pregnant
                                   pregnant at at the
                                                  the time).
                                                      time). They    met 33 times
                                                              They met               on 11 between
                                                                            times 11 on            Dec and
                                                                                           between Dec     Jan
                                                                                                       and Jan
 (Manufacturing
 (Manufacturing engineer)
                  engineer) she
                              she sat
                                  sat close
                                      close by,
                                             by, they
                                                 they talked
                                                       talked in  person.
                                                               in person.




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                                       lX-88SS,
                                       TX-8855, Page
                                                Page 12
                                                     12 of
                                                        of 23
                                                           23
    Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 14 of 24




                        ny did not encourage him to leave Google. Mark initiated communication Dec. he
                  im again in Jan. Anthony wasn't very interested in him. Mark heard about it and wanted
          verbal meeting at Google.

     Z~ meeting (1 verbal chat 1 meetin          is house) he received an offer from Anthony. Anthony said
     he needed a team, he knew Zach         nhappy. They spoke at Zach's house and was given an offer
     letter. Anthony initiated it ver

    ~ill MCCann: 2 discussions, 1-1 on 1 at Google. and 1 evening walking around (Jan 15 and 23'd).
                                                                                                  23,d). the
       M
    15 was himS:pproaching asking what they were up to, Anthony said he was thinking of leaving and
    151k
    doing something in the robot car space. The evening meeting was to finalize his offer letter. Will
    requested the meeting. They discussed salary and offer. Will was given an offer prior to the meeting
    through Rhian. The offer may have come later (he did not end up joining).

     ~ discussed general     business client. Discussed new focus project at Google. Started to talk about
    newco in Jan . they discussed a start up earlier but nothing specific. The idea was that the team would
    leave google to start something. Drew received an offer. He is a mechanical Engineer. Maybe a text
    about setting up an evening group discussion . Sent to Google email address. Anthony encouraged him
    leave Google.

    ~e:Anthony
    ~e: Anthony did not encourage him to leave google. He approached Anthony (seemed pushy) they
    had 3 discussions and seemed forceful. 2 were on campus, 1 off campus (on the phone). There are
    phone calls and text messages regarding comp, role and needs. Jan communications.

    lonut: 1 chat in person Jan 15, 2016. Talked about where the business would be base, he approached
    Anthony.



     --
    Luke: same as lonut, 2 chats both at Google, initiated by luke first then Anthony followed up. All verbal.
    Second meeting was discussed location for newco. General conversation about what Luke heard from
    others. He wanted to know more. Anthony asked him to talk to the others. 2
    up. He received and signed offer letter. Which has since expired.
                                                                                   nd
                                                                                  2nd meeting was a follow


    Rahin: Hardware Engineer. Approached by Pierre . Follow up by Luke, 3,d 3'd time met with Anthony to
    discuss salary. Verbal communications at Google. 22ndnd meeting was at google (walk). 3'd meeting was
    likely after work. Anthony didn't initiate any meetings. Not texts or emails. Jan 2016. Received offer,
    not signed. Which has expired .

    Sam :                                                asked . (I stepped out of the room to have Don
             aware Engineer. Approached by Pierre. Later asked.
      n the COC)o
            COC). Break for lunch.

            Sam initiated conversations. They talked about more technical things. Sensors they should
    .develop. Why are robots important? Talked about compensation. Didn't talk about his role. No text or
     emails

    ~ Anthony
      Anthony        ched out to him in November. They talked about macro pictures, why trucks are
    ·important. e didn't get an offer letter. 1 in person meeting. A few text about when and where to
     meet.
     meet.   ey met downtown SF. Embarc and Market . They met in January 2016.
\




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                                        lX-88SS,
                                        TX-8855, Page 13 of 23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 15 of 24




Don - 22 chats
Don-      chats Joined
                 Joined Otto
                         OttoMotto.
                               Motto. HeHe was
                                            was always
                                                  always frustrated      with Google.
                                                            frustrated with               in person
                                                                              Google. 22 in           chats about
                                                                                             person chats   about
~honyhony leaving                                                               st                           nd
~          leaving and
                   and what
                         what he
                               he was
                                  was going
                                       going to    do. Anthony
                                                to do.              initiated 1 meeting, Don initiated 2 • Jan
                                                         Anthony initiated    1't  meeting, Don  initiated 2nd.  Jan 4-5
                                                                                                                     4-5
                                                         nd
or 6.
or 6. 22 meetings
         meetings atat google.
                       google. They
                                 They are   friends. 2nd
                                       are friends.         meeting was
                                                        2 meeting           about general
                                                                      was about             discussion about
                                                                                    general discussion          what they
                                                                                                         about what   they
would be
would   be doing.
            doing. Software
                    Software engineer.
                               engineer. Offer
                                            Offer letter    was given
                                                    letter was          before Anthony
                                                                 given before                  Google. They
                                                                                          left Google.
                                                                                Anthony left             They
communicated aa lot
communicated        lot on
                        on aa personal
                              personal level.
                                        level. He     joined Feb
                                                  He joined         25ish..
                                                               Feb 25ish



Anthony was
Anthony   was clear
               clear that
                     that he
                          he wanted
                             wanted to
                                    to do
                                       do this
                                          this project    Google but
                                                       at Google
                                               project at                        seem to
                                                                          didn't seem
                                                                 but itit didn't                so he
                                                                                         happen so
                                                                                      to happen        left to
                                                                                                   he left  to
do this
do this on
        on his
           his on.
               on.



 Brian (user
Brian  (user experience
               experience designer)
                            designer) one
                                       one           onversation.    planned in
                                                     onversation. 11 planned     person. Anthony
                                                                              in person.                 up to
                                                                                                 walked up
                                                                                         Anthony walked     to
hTS'desk and said "do #)'tu

                                                                                                                     ;>
                             uw             " Jan 05,  2016. They talked about the direction ofthe internal
                                                   05,2016.
 project. They had            anned when Anthony was out with Matt and saw him at a coffee shop . Brian
joined e                 10..
                     sa 10
                                                            rd
                                                          3 conversation was "we just got offered more
                                 ilz Coffee in Palo Alto. 3'd                                               ~
mo                                                                                                 ha: given
          o0 stay, can I join you guys later?". Same deal applied to the other Brian . Pierre may have
  1m an offer letter.

Brian (operation -program manager) manages the human side of the car. Used to work for Matt.
~ny and Brian meet after he heard what was going on . Seemed very interested . Brian reached out
to Anthony after he spoke with Matt. Walked up to Anthony's desk. Jan 2016 . He got an offer. (likely)          ,
 Matt Wi llians. They spoke about this f        ng time . They used to work on Streetview together. Dates
         D:t 2014 or Jan 2015.
t ack to Difr                          mg concrete, but thinking about it. Fast forward to Sept, he said as
                                       109
soon as he is paid he i       g to leave. Matt encourages Anthony to leave Google . TheY'discussed
               a     sn t agree that it's a good idea . He is the first of Chauffer to leave. He left Jan 4. He
              1n when he returns from a long vacation . No discussions about role or compensation ..
              10

                n.;"..I~~~':'"'
                ~~~~':"""  . T he  outfits the cars. He approached Anthony, they talk about money, the
                   e didn't get an offer letter. He was going to wait for his bonus. Met in January twice .
                                                                                      ~
        eetings at Google. Anthony walked up to him the second time.

Bryan Sellesky. He was upset that he wasn't apart of th                          he left and came back.
m
Fffi was never approached, but expressed intere     nthony didn't give him any information . He found
out Anthony was recruiting from~
                           from~ .. AI       aise may have told him . Not sure how he found out
exactly. Sept 2015 Bryan said" let     dinner," "I know someSh         pp" 0o 11
                                                                 jggs I!P"
                                                         someJbipss           116119
                                                                                 0119 elu  iies there is a
                                                                                      elCJ lies
 ~ Bryan seems to wan 0o n ut Anthony doesn't trts'i' him .rs                                             (October).......
                                                                          .t"Bryan later contacts Uber (October)........
'He  said he was talking
 'He said he was talking tt      er to have
                                 er to have   the
                                              the vehicle
                                                  vehicle team
                                                          team and
                                                               and  selling
                                                                    selling   it
                                                                              it to
                                                                                 to Uber.
                                                                                    Uber.  Anthony
                                                                                           Anthony  said
                                                                                                    said if
                                                                                                         if he was
                                                                                                            he was
                           they
                            they should
                                 should all
                                         all sit
                                             sit down
                                                 down with
                                                       with Uber together. Anthony
                                                            Uber together.                    introduced   to Uber
                                                                                          was introduced to Uber
                                                                                Anthony was
                     he
                     he first
                        first meeting
                               meeting with
                                        with Uber
                                                Uber about  new business.
                                                     about new               October.
                                                                business. October.

Bryan
Bryan rr    zes
            zes the
                 the leve
                      levell of
                             of discussion
                                discussion was
                                           was more
                                               more advanced
                                                     advanced than  he expected.
                                                              than he                  evening he
                                                                                  That evening
                                                                       expected. That            he meets with
                                                                                                    meets with
       nds
        nds he
             he decided
                decided to to stay
                               stay for
                                    for 10m.
                                        10m. He
                                             He was
                                                was then        of what
                                                         aware of
                                                    then aware           was going
                                                                   what was           but not
                                                                                   on but
                                                                             going on          involved
                                                                                          not involved




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                                                                                               STROZ_ 0021133
                                                                                               STROZ_



                                         lX-88SS,
                                          TX-8855, Page
                                                   Page 14
                                                        14 of 23
                                                           of 23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 16 of 24




Collin (user experience)



Lior:

They had several conversation, chats, text, meetings with Uber. Anthony had the contacts with Uber.
                                                                             Lior' s email address on
There may be one accidental email to Google account about meeting. (search Lior's
Anthony' s devices)
Anthony's devices). . Maybe snapchat.

How did they begin? How do we build something at Google. It will likely be too complicated to do at
                                           is when they decided to make the move.
Google so we should just leave. Nov or Dec is


                     .       "
                you rself in the company? To build what needs to be built.
How did you see yourself



Group Meetings.

Laser Team BBQ to celebrate a mile stone. Discussed work st       ere were a couple of side chats
about NewCo and related conversation. Lior was introd     to the group. Nov 2015.




Dec 2015. 20 people Pierre, Gaetan, Drew, Liala, Lu , ior. Bunch of non google people. About
everyone is interested, organized by Anthony .   sl ide
                                                 slide  , ust verbal discussion (Lior may have had a
pptx but not sure).

Additional

Claire Delaunay

David Wakerstoffer

Brian Dowdall

Brian
BrianTT




Early jan 2016.                           ~~~'I'B'/!~
                                          ~~""'-"'~l!:'!oeoliWJJ.Q
                                                         __ilJ.Qwedwedup. Not an official google trip.
                                                                    tted about how to build from scratch
without using any IP. They cou l~~NMI!'I'I!I'I!-!'I''''~~~~~
                           coul~~!lwMI!'I'e'I!-!!'I'T'M~~i:si~~




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                                   lX-88SS,
                                   TX-8855, Page 1S
                                                 15 of 23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 17 of 24




 Who brought
Who     brought itit up?
                      up? Anthony
                              Anthony asked
                                          asked ififthey
                                                     they could
                                                           could make              wit ut
                                                                             laser wit
                                                                    make aa laser            using IP.
                                                                                          ut using      Pierre said
                                                                                                    IP. Pierre       they could
                                                                                                               said they   could
 redo itit or
redo       or infringing
               infringing onon IP. IP. The
                                       The point
                                            point of
                                                   of the
                                                       the laser
                                                            laser interoperate
                                                                   interoperate          "world".. Their
                                                                                      ee "world"          intention was to do
                                                                                                   Their intention   was  to do
 this clean
this  clean and      build itit from
               and build         from scratch.
                                        scratch.

They would
They  would rebuy
             rebuy the
                     the same
                         same parts,
                              parts, but
                                     but they
                                          they were
                                               were not
                                                    not               mg  to remake
                                                                      mg to               Google already
                                                                                     what Google
                                                                              remake what                made. Lior
                                                                                                 already made. Lior
was  not on this
was not on this  trip.
                 trip.



Drew organized
Drew  organized meeting
                meeting at
                        at Anthony's
                           Anthony's house
                                      house to
                                            to discuss  an exit
                                                discuss an       from Google.
                                                            exit from         Confirm within
                                                                      Google. Confirm        the nn
                                                                                      within the
couple of day
couple of day Anthony
              Anthony would
                      would leave
                             leave and
                                   and the
                                       the rest  would follow.
                                           rest would   follow.

Piere
Pi ere

Gateon

will

Liala

Brian Dowdall

Claire Delaunay: now work at Otto
c;:laire

David Wakerstoffer: now work at Otto

lonut: received offer that night (he req

Luke : received offer that night



Lior

Drew may have
         havess  a calendar invite to e            r;..a erg
                                                         ccgppts        goo google people there.
                                                                  Other pon
                                                             "pts Qtber
Han e ou ex a offer letters. Actively encouraging people to leave.



The
Then                                                                                        forwa rd.. They
      n t day (Tuesday), they have a chat with Brian Seleski about his role at Google going forward
di     ss something before the 11 am weekly meeting. Brian was going to    announce   Anthony  was leaving
   e laser team but staying within Google. 100
                                           100%% charade.

They go
They  go to
         to the
            the actually
                 actually meeting.
                          meeting. They
                                   They break
                                        break the
                                              the news,
                                                  news, Brian  leaves the
                                                        Brian leaves         room. Anthony
                                                                         the room.           then opens
                                                                                     Anthony then        up
                                                                                                   opens up
the
the room
    room for
           for discussion.
               discussion. Anthony  mentioned he
                           Anthony mentioned   he may
                                                  may be  leaving ifif he
                                                      be leaving          cant find
                                                                       he cant      something within
                                                                               find something         Google,
                                                                                               within Google,
Alphabet.
Alphabet.

Why are
Why are you
        you being
            being replaced?
                  replaced? They
                            They wanted
                                 wanted to
                                        to put          loyal person
                                                  more loyal
                                           put aa more                in charge
                                                              person in         of the
                                                                         charge of     team..
                                                                                   the team

Anthony
 Anthony announced
         announced to
                   to the
                      the group
                          group that
                                that he
                                     he was
                                        was proud
                                            proud of      team and
                                                     the team
                                                  of the           he was
                                                               and he                    he was
                                                                          undecided ifif he
                                                                      was undecided              leaving
                                                                                            was leaving
the
 the company
     company..

Larry
Larry likes  what he
       likes what he does
                     does but
                           but he
                                he doesn't
                                   doesn't have
                                           have much
                                                much say.
                                                     say. Chris doesn't like
                                                          Chris doesn't       him. Brian
                                                                         like him.              what he
                                                                                          likes what
                                                                                   Brian likes          does
                                                                                                     he does
but
but he   knows he
    he knows    he may
                   may be
                        be leaving.
                            leaving.




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                                           lX-88SS,
                                            TX-8855, Page
                                                     Page 16
                                                          16 of 23
                                                             of 23
      Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 18 of 24




Anthony leaves
Anthony  leavesthe
                the next
                    next day.
                         day.



Who do
Who do you
       you contact.
           contact. Very
                    Very very
                         very few
                               few at
                                   at Google   He spoke
                                      Google.. He       with Chelsea,
                                                  spoke with          John kraftcheck,
                                                             Chelsea, John             and Sergai.
                                                                           kraftcheck, and Sergai.

Sergei didn't want
Sergei didn't want him
                   him to
                        to leave.
                            leave. He
                                   He mentions
                                      mentions to
                                                to both
                                                   both that  he may
                                                         that he     start up
                                                                 may start      new company.
                                                                           up aanew company.

John, what
John, what happened?
           happened? He
                     He asked
                        asked what
                              what he
                                   he was
                                      was going
                                          going to
                                                 todo.
                                                   do. He  tries to
                                                       He tries            him aaposition
                                                                      find him
                                                                  to find                 back at
                                                                                 position back at
 Google.
Google.

Chelsea and
Chelsea and her
            her boss
                boss and
                     and bosses
                         bosses boss.
                                boss. (Stacey
                                       (Stacey Sullivan).
                                               Sullivan).

Social nice
Social nice conversation.
            conversation.

A number
A number of of people
               people reach
                       reach out
                               out about
                                   about joining
                                          joining Newco.
                                                   Newco. He   responds that
                                                            He responds      he cant
                                                                        that he       respond or
                                                                                 cant respond     he doesn't
                                                                                               or he doesn't
respond.    He answers
respond. He answers      social
                         social stuff
                                stuff but
                                      but  not
                                          not   about
                                               about  work.
                                                      work.  Anthony
                                                             Anthony doesn't
                                                                      doesn't talk
                                                                              talk to
                                                                                   to anyone
                                                                                      anyone at
                                                                                              at Google.
                                                                                                 Google. No
                                                                                                         No
oral, written,  or electronic.  Inbound
oral, written, or electronic. Inbound     but
                                          but  no
                                               no outbound.
                                                  outbound.

There are some people who left google on their own.
There



Claire: they used to date and had many chats about robots. She expressed interest in joining the
Claire:
newco. How many times did you meet about NewCo? 4 times. Started Sept2015. Software engineer.
newco.
Talked about the software requirement~ for a truck. She left Google 2 weeks after Anthony
Talked

Met David about N~wco 1 before and 1 after group meetings about Newco. He was on a visa that
Met
needed
needed to be transferred. 1'                      2nd on the street by Anthony's house. Left 2 weeks
                          l't1 meeting at google, 2"d
ago.
ago.

Dan
Dan Ratner
    Ratner used to work for Google but Anthony didn't talk to him. Dan talked to Lior after he left
Gooogle.
Gooogle.

How
How many employees? 30

How
How many from google? 16 (10 of them were recent).



1'1 communications
l't communications with
                   with Uber
                        Uber Sept.
                             Sept.



Tell us
Tell us what
        what happened
             happened with
                      with the
                           the Dis
                               Disk·.

There was
There   was aa meeting
               meeting to
                        to check
                           check in
                                  in about
                                     about how
                                           how th;;;lr;ncrr-:rn>:-m'rii      l
                                                                     m"'g'.'-Anthony
                                                th;;;ln-ncrr:rn>:-m"riti"i>          disclosed he went through his
stuff
stuff that
       that have
            have sensititve
                 sensititve Google
                            Google data.
                                     data.

What
 What was
      was onon it?
                it? Source
                    Source code,
                           code, design
                                  design files,
                                          files, high
                                                 high value.
                                                       value. Engineering
                                                              Engineering docs  to create
                                                                          docs to         self driving
                                                                                   create self         car.
                                                                                               driving car.
(Googles)
 (Googles) software   required for
           software required    for driving
                                    driving the
                                             the car.
                                                  car.

How
How did
    did you
        you obtain
            obtain it?
                    it? Through
                        Through the
                                 the work
                                     work process.
                                          process.




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                                                 TX-8855,
                                                 TX-8855, Page
                                                          Page 17   23
                                                                  of23
                                                               17of
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 19 of 24




How did
How did they
         they get
              get on
                  on the
                      the hard
                          hard disck?
                               disck? Nature
                                      Nature course of business.
                                             course of business.

Checked out code
Checked out code to
                  to work
                     work on
                          on it.
                              it. As
                                  As early
                                     early as
                                           as December.
                                              December.

Did you
Did you create
        create the
                the files
                     files on
                           on the
                               the disk?
                                   disk? He
                                         He got
                                            got them  off the
                                                 them off      personal mac.
                                                           the personal mac.

What would itit be
What would      be called?
                   called? .tc
                            .tc truecrypt
                                 truecrypt file
                                            file..

Anyone from
Anyone from Google can pull
            Google can pull data.
                            data. Common
                                  Common team
                                         team password.
                                              password.

They were
They were likely
           likely there for many
                  there for many years.
                                 years.

Found them
Found them the
           the same
               same time as the
                    time as the "box
                                "box of
                                     of stuff"
                                        stuff"..

Who did
Who did you
        you tell.
            tell. Attorney,
                  Attorney, Liar.
                            Lior.

What happens next. Go to Uber, I have some stuff I want to get rid of. Cam Nina and Travis.

Cam says: oh you should not delete that we need to see it and understand what in there. (for
preservation purposes"

Travis says: Don't take any advice from Cam. If you have google stuff I don't want know about it, I don't
want it here, do what you need to do "

Anthony says: I am going to delete it

Travis: nods

Cam clearly disagrees but does not object (Visibly
                                          (visibly disagrees)

Nina: is amused

                                                                               data . Took them to a
What did you do then? He left the meeting with the understanding to delete the data.
shredder by the airport (Oakland).

How long was the conversation . 3 minutes.

Later that afternoon, Cam called and said "please don't shred them" Anthony said "too late", and then
Cam said please don't delete or shred other things.

Cam called back again and said "I want to make sure you don't delete more stuff". (sometime over the
weekend). Lior
           Liar also called and said they told him the same thing, he may have spoken to Nina.

Liar only knew there was confidential data on there.
Lior

What
What did
      did Lior
          Liar say
                say when
                    when hehe found
                              found out
                                     out you
                                           you had
                                                had the
                                                    the data.  He was
                                                         data. He                and said
                                                                      surprised and
                                                                  was surprised                 they should
                                                                                           that they
                                                                                      said that             tell
                                                                                                     should tell
Uber
Uber about
     about it.
             it. After
                 After the
                       the meeting
                            meeting itit was
                                         was clear
                                             clear the
                                                   the consensus  was to
                                                        consensus was             it.
                                                                          delete it.
                                                                       to delete

Lior
Liar never suggested to
     never suggested to delete
                        delete the
                               the data
                                   data..

Was
Was Cam
    Cam upset
        upset that
              that you
                   you destroyed
                       destroyed the
                                 the disks?
                                     disks?

They
They all
     all understood
         understood the
                     the disks would be
                         disks would be deleted.
                                        deleted.




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                                        lX-88SS,
                                         TX-8855, Page
                                                  Page 18
                                                       18 of 23
                                                          of 23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 20 of 24




Met Travis
Met   Travis in
              in 2012
                 2012 and
                       and Garret
                           Garret Kamp,
                                   Kamp, gave
                                         gave them
                                              them laps      the self
                                                          in the
                                                    laps in                   car. They
                                                                      driving car.
                                                                 self driving                  to buy
                                                                                        wanted to
                                                                                   They wanted        20 cars
                                                                                                  buy 20 cars
right there
right there but
              but they
                   they were
                        were not
                             not ready.
                                  ready.



Late 2014,
Late 2014, travis
           travis handed
                  handed him off to
                         him off to Jeff
                                    Jeff Holden and tried
                                         Holden and       to get
                                                    tried to     him to
                                                             get him    join Uber.
                                                                     to join Uber.

                                                                         business. 22 lunches
Later he saw Brian had joined Uber and followup meeting about a separate business.             in July
                                                                                      lunches in  July
or August 2015.

August Sept, Antony by himself, lets seek funding from you guys... started negotiating, (fund raising and
purchase of future technology) .

They said they didn't want to fund they wanted to be a beta customer,

Talk to TK to decide what to do. Travis doesn't want to just buy stuff they wanted to be more involved,

Started out them being a customer.

They go to Uber twice a month since Sept, (Brian, Cam, Nina, Jeff, TK)

They spoke to Travis and said they were thinking of leaving Google in Oct.,

Brian peels off (from Google). And their project kept moving forward .

1 meeting with Brian Sand Uber

During meetings at uber, do you discuss the Newco? No specifics, just that there is a New Co

When did they become aware? Second meeting.

Did Uber direct the hires? Not really, no specific names. General conversation about laser technology .

What happens December 2015

They progress further and further, price, tax structure,

Reached agreement December (started negotioning term sheet which was signed in Feb) .

There was a plan to acq Otto before he left Google.

The group discussions were sparked by internal issues at Google .

John Bayers (runs Uber self driving car division).

Things are progressing but not as quickly as they hoped .

One other person at Uber Emil who is Cams boss. Only had 3 conversations. Make sure the deal was
still on. Wanted to set up a corporate database to get people who worked on robots.

Would you have left Google if Uber wasn't there? Yes.

Who
Who called
    called who
           who in
                in June.
                   June. Anthony
                         Anthony congratulated
                                 congratulated Brian and Brian
                                               Brian and       said, hey
                                                         Brian said,     lets get
                                                                     hey lets     lunch.
                                                                              get lunch.

There was
There was aa later
             later follow
                   follow up
                          up




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                                     lX-88SS,
                                     TX-8855, Page
                                              Page 19
                                                   19 of
                                                      of 23
                                                         23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 21 of 24




June 16th Brian
June 16th Brian left
                 left google
                      google to
                             to go
                                go to
                                   to Uber.
                                      Uber.

What do
What   do you
          you talk
               talk about
                    about at
                          at lunch?
                              lunch? What     Brian isis doing
                                        What Brian             there. How
                                                         doing there.         its going.
                                                                        How its                leave itit as
                                                                                         They leave
                                                                                  going. They                they should
                                                                                                          as they should
follow up.
follow  up. Brian
            Brian follows
                   follows up
                           up inin July
                                   July or
                                        or Aug.
                                           Aug. They
                                                They meet      alone, in
                                                         meet alone,      person. They
                                                                       in person.        talk about
                                                                                    They talk        ideas ....
                                                                                              about ideas

When you
When you left
         left the
              the first
                  first meeting,
                        meeting, did
                                 did he
                                     he encourage you? Anthony
                                        encourage you?             not solicited.
                                                               was not
                                                       Anthony was     solicited.

2nd lunch 22 or
2"d          or 33 weeks
                   weeks later.
                         later. He
                                He may
                                   may have
                                       have emailed about lunch?
                                            emailed about        Anthony expresses
                                                          lunch? Anthony            unhappiness, they
                                                                          expresses unhappiness,  they
need additional robotic efforts. The don't discuss New Co. they leave the conversation by having a
mutual interest.

              @gmail.com
               gmail.com



it would be interesting to have an offer from Uber to buy the Google team. They wanted to know the
market value for the chauffer team. They never followed up on that. They wanted to put a price tag on
the team.

Anthony reached out for the 3'd3rd meeting. Uber said they were not going to get a price for the team .
They got lunch in SF by Uber office. (with just Brian at Alta Cafe) they start discussing uber buying lasers
from the start up for their cars.

4th meeting Bryan Cam Nina meeting at Uber (Sept or Oct). Discuss customer roll up, they don't intend
4th
to invest in a start up. They talk about being a customer,
 th
5 Cam Nina and Lior Anthony (customer deal)
5th
 th
6th Bryan Cam Nina (verbal of what they might do)
6

Travis comes into the picture October at Uber office (Travis calls or text)

Only emails with Jeff and Bryan. Some texts with Cam. Nina 30 messages TK 200 messages Jeff 20
messages.

Travis is main contact.

All emails were deleted from gmail account. It was weird to have emails from Uber while still at Google.

Oct there is a 1 on 1 with Travis. They meet at Uber on Sunday. They talk high level robot stuff. This is
the first long discussion with him, he doesn't know much about robot cars. He wanted to buy or
nothing, 8pm to 2am. Bigger deal or smaller deal.

Met with someone at uber the following week . Cam and Bryan. Only Anthony no Lior. At Uber. They
get on the same page. Next steps are if they want to do something like this. There are a total of about
20 meetings .

They then start to negotiate specifics. (nov-Dec) meetings now every other week.

Post
Post the
     the meeting with Saleski,
         meeting with Saleski, the
                               the meetings
                                   meetings have
                                            have been
                                                 been regular and include
                                                      regular and         Liar. Cam
                                                                  include Lior.     Nina Travis,
                                                                                Cam Nina         John.
                                                                                         Travis, John.

Continue
Continue meetings
         meetings twice
                  twice aa month.
                           month.




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                                                                                             STROZ_



                                        lX-88SS,
                                        TX-8855, Page
                                                 Page 20
                                                      20 of
                                                         of 23
                                                            23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 22 of 24




Did they
Did they ever
         ever ask
              ask about
                  about confidentiality?
                        confidentiality? Yes,
                                         Yes,

They discussed
They   discussed with
                  with uber
                        uber multiple
                              multiple times
                                        times before
                                              before leaving  google (nov
                                                      leaving google       dec). they
                                                                      (nov dec).      always said
                                                                                 they always       they would
                                                                                              said they would
                        rd
start from
start from scratch.
             scratch. 3'd  party called
                      3 party    called Velenime
                                         Velenime that
                                                  that has  similar technology.
                                                        has similar              Anthony said
                                                                    technology. Anthony        he could
                                                                                          said he        do itit
                                                                                                   could do
without infringing
without   infringing on
                     on any
                          any patents.
                              patents.

What sort
What        of research?
       sort of research? deliver
                         deliver lasers,
                                  lasers, help
                                          help deploy
                                               deploy vehicle          help build
                                                              quickly, help
                                                      vehicle quickly,            kit. He
                                                                            build kit.    expects to
                                                                                       He expects    have aa
                                                                                                  to have
role to be in charge of the technology.

Not relying on Google technology to do the work for Uber.

                                                            Lior and Anthony.
Have you discussed with anyone about joining Uber? No, just Liar

Nobody that he knows of at Google know about the Uber deal. Brian may have guarded the secret but
he may use it later to help him negotiate later. (all speculation).

John Hankey left, Larry Page, John Kraftcheck,

John Hankey started a game co from Google. Lior and Anthony talked to him about how to spin out
trucks. He left within the last 6 months. Asked advice how to handle Google legal, PR, mechanics.
Wanted insite on the kit solution. (sept 2015) he doenst know about Uber.

Are you anticipated duties at uber similar to google. Yes

Will they compete? He will help a division compete with Google, but he will help build trucks and kits
which wont compete.

Describe otto : design trucks to eliminate a driver. kits? Sell hardware to install and have the car drive
itself. Why pursue it? Its awesome. Great profit potential.

Both jobs involve making something with wheels without a driver.

Otto focuses on self driving trucks which is different from picking up people. The kits are secondary.
Google wasn't doing any of this.

Rely on experience at Google, did not rely on information. Relying on understanding.

50
SO (individuals) skill sets, engineers

Do you have alternatives, yes

Source? Take referalls, recruiting spree from non google, referals non google, they have recruiter.

What is your role? Meet and interview all non google employees and evaluate. Not the sole person to
hire. (has the power to veto)

New hires meet with individually with people, group discussion, offer

Have googlers contacted you about wanting to work at Otto. Yes, there are some more specific but he
doesn't respond. They are all saved on his phone. Not taking any calls from Googleres.



How
How do
    do you
       you determine
           determine salary.
                     salary. Look
                             Look at
                                  at w2
                                     w2 and
                                        and match.
                                            match.




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                                      lX-88SS,
                                      TX-8855, Page
                                               Page 21
                                                    21 of
                                                       of 23
                                                          23
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 23 of 24




Glassdoor isis used
Glassdoor       used as
                      as aareference.
                            reference.

Based on
Based on skill
          skill set,
                 set, that
                       that determines
                            determines their
                                        their role
                                               role at
                                                    at Otto.
                                                       Otto.

IsIs that
      that different
           different for
                      for Google.
                          Google. Totally
                                  Totally separate
                                          separate process.
                                                   process.

Expects process
Expects          for Google
        process for  Google employees
                            employees is,             with non
                                            interview with
                                       is, interview           google, they
                                                           non google,       decide, rhian
                                                                        they decide,        decides salary.
                                                                                      rhian decides salary.

 What safeguards
What    safeguards are
                   are in
                        in place. Have them
                           place. Have  them sign
                                             sign aa piece     paper stating
                                                            of paper
                                                      piece of                 they are
                                                                      stating they          brining in
                                                                                        not brining
                                                                                    are not             any data
                                                                                                     in any data
 from last
from   last employer.
            employer. Google
                       Google employees
                                employees confirm    they were
                                           confirm they          not solicited.
                                                           were not  solicited.

All code
All      has to
    code has  to be
                 be written
                    written and
                            and checked
                                checked in.
                                         in.

Any training?
Any  training? No
               No

Policy? Yes,
Policy? Yes, don't
             don't bring
                   bring personal
                         personal computers. Don't take
                                  computers. Don't          tools home.
                                                        any tools
                                                   take any       home.
      rd
Any 3'd
Any      party venors?
    3 party    venors? Yes,
                       Yes, they
                            they contact
                                 contact same            to make
                                                vendors to
                                          same vendors           machine parts
                                                            make machine         (not the
                                                                           parts (not     same parts).
                                                                                      the same  parts).
They
They  also purchase  equipment  (tooling for cuircut boards).
                                                     boards). They
                                                              They will
                                                                   will contact
                                                                        contact same
                                                                                same   vendors.
                                                                                       vendors.

Made a list from trade shows.



Agreements? Yes

Anything to add? Probably not

Anything you want to check? Sure but nothing right now

Have you provided everything? Yes

True and correct? Yes

Did
Oid you announce your departure? No

No press release? No

How do you think your departure will effect google? They will get press inquiries, slow them down .




Any
Any other
    other communications
          communications with
                         with these
                              these individuals
                                     individuals you spoke to
                                                 you spoke    about your
                                                           to about      new co
                                                                    your new    or leaving
                                                                             co or          google.
                                                                                    leaving google.

Anthony isis checking
Anthony      checking them
                      them off
                           off the
                                the list
                                     list mary
                                          mary provided him.
                                               provided him.



Google
Google side
       side with
            with Clay
                 Clay Bavor
                      Bavor /
                            / '

Cardboard
Cardboard       //                   //

Mega
Mega presence
     presence or
              orTela
                 Tela presence
                      presence




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                                                                                         STROZ_ 0021141
                                                                                         STROZ_



                                          TX-8855,
                                          TX-8855, Page
                                                   Page 22    23
                                                           of23
                                                        22 of
Case 3:17-cv-00939-WHA Document 2623-10 Filed 02/05/18 Page 24 of 24




Clay still has some of his equipment. A robot arm.



Non google side projects with clay

                          predictor)
Future game (stock market predictor}



Prototype this

Anthony's robots

510 Systems

                              raison which turned into 510 (gps bulldozers)
                           Laraison
Darpa grand challenge into La




Glimmer (3 second video sharing). Non google related. Dead start up

Date Knight (non google side project)

Nemo (non google) modular building manufacturing company.

East Bay Portfolio (real estate development)

Brian Dowdall




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                                     lX-88SS,
                                     TX-8855, Page 23 of 23
